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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

Case No. 18-cv-22923-GA YLES/OTAZO-REYES

JELEN CARPIO
as personal representative of the
estate of DIOGENES CARPIO, JR.,

Plaintiff,
-VS-
NCL (BAHAMAS) LTD.,
D-I DAVIT INTERNATIONAL, INC.,
HATECKE SERVICE USA, LLC,

Defendants.
/

[PROPOSED] ORDER

Upon consideration of Defendant D-I Davit International, Inc.’s Motion to Dismiss the
Complaint or, in the alternative, Motion for Summary Judgment, and any opposition thereto, it is
hereby ORDERED that the Motion is GRANTED, and all claims against D-I Davit International,

Inc. are dismissed with prejudice.

SO ORDERED, this _ day of , 2018

DARRIN P. GAYLES
UNITED STATES DISTRICT COURT JUDGE

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